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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

  UNITED STATES OF AMERICA                           )
                                                     )
                 v.                                  ) CRIMINAL NO.: 1:16-CR-229
                                                     )
  RUBEN OSEGUERA-GONZALEZ,                           )
       also known as “Menchito,”                     )
       “Rubencito,” “Rojo,” “Ruso,”                  )
       “Junior,” and “El Nino,”                      )
                               Defendant.            )


  JOINT MOTION TO CONTINUE STATUS CONFERENCE AND EXCLUDE TIME

        The parties respectfully submit this Joint Motion to Continue Status Conference and to

Exclude Time Under the Speedy Trial Act. The next status conference in this case is scheduled

for December 11, 2020, at 4:00 p.m.

        The last status conference in this matter was held on June 24, 2020, a subsequent status

conference was scheduled for September 11, 2020 but continued for 90 days at the request of the

parties. Since that time, the parties have continued to discuss the overall posture of this case,

including likely motions and trial schedules, and have continued to produce and review

discovery. Among other things, much of the discovery in this case is in Spanish and therefore

requires additional effort to meaningfully review and translate for the parties’ use. Potential

witnesses are also located outside of this district and outside of the United States, further

complicating the parties’ efforts to investigate and prepare in advance of trial. Additionally, the

parties are continuing to evaluate and discuss whether a resolution of this matter can be reached

short of trial. In light of the fact that the parties are continuing to confer, the parties believe that

a modest additional continuance of approximately 90 days would allow the parties sufficient
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time to meaningfully apprise the Court of how they would like to proceed with the ultimate

disposition of this matter.

       The parties additionally request that, should the Court grant the continuance, the Court

exclude time to the continued date for the status conference from the Court’s calculation of the

time within which trial should commence pursuant to 18 U.S.C. § 3161(h)(7)(A). Specifically,

the parties submit that this continuance would serve the ends of justice by affording counsel for

both the defendant and the government reasonable time necessary for effective preparation.

       In response to the Court’s minute order of November 29, 2020, in the event that the Court

denies this request and wishes to confer with the parties on December 11, 2020, the parties both

consent to appearing at the status hearing via videoconference.



                                             Respectfully submitted,


 /s/Danny Onorato                            ARTHUR WYATT, Chief
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